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6

7

8
                                     UNITED STATES DISTRICT COURT
9
                                 THE CENTRAL DISTRICT OF CALIFORNIA
10

11

12
       UNITED STATES OF AMERICA,                           Case No. 2:21-CV-07231
13
                                    Plaintiff,             ANSWER TO COMPLAINT AND DEMAND
14                                                         FOR TRIAL BY JURY BY CLAIMANT
              v.                                           BRENDA SIMS
15

16

17     150,900.00 IN U.S. CURRENCY,
18                                  Defendant(s).
19

20
       TO THE HONORABLE COURT AND THE OFFICE OF THE UNITED STATES ATTORNEY
21
       FOR THE CENTRAL DISTRICT OF CALIFORNIA:
22
              Claimant BRENDA SIMS (the “Claimant”) hereby answers the Plaintiff’s Complaint
23
       For Forfeiture In Rem (the “Complaint”) as follows:
24
              Claimant reserves the right to supplement and amend this Answer as necessary
25
       as matters develop through discovery of certain facts and circumstances regarding the
26
       Complaint and specifically reserves his right to file any applicable counterclaims. Any
27
       and all allegations contained in the Complaint and not explicitly admitted herein, are to
28
       ANSWER TO COMPLAINT FOR FORFEITURE IN REM     -1-
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1      be deemed denied.
2             Please take notice that Claimant demands trial by jury of the issues and defenses
3      raised by Claimant’s claim and this answer.
4             1.     Claimant lacks knowledge, information or recollection sufficient to form a
5      belief as to the truth of all the allegations contained in Paragraph 1 of the Complaint and,
6      therefore, generally and specifically denies all the allegations in Paragraph 1.
7             2.     Claimant lacks knowledge, information or recollection sufficient to form a
8      belief as to the truth of all the allegations contained in Paragraph 2 of the Complaint and,
9      therefore, generally and specifically denies all the allegations in Paragraph 2.
10            3.     Claimant lacks knowledge, information or recollection sufficient to form a
11     belief as to the truth of all the allegations contained in Paragraph 3 of the Complaint and,
12     therefore, generally and specifically denies all the allegations in Paragraph 3.
13            4.     Claimant admits all allegations contained in Paragraph 4 of the Complaint.
14            5.     Claimant admits all allegations contained in Paragraph 5 of the Complaint.
15            6.     Claimant lacks knowledge, information or recollection sufficient to form a
16     belief as to the truth of all the allegations contained in Paragraph 6 of the Complaint and,
17     therefore, generally and specifically denies all the allegations in Paragraph 6.
18            7.     Claimant admits all allegations contained in Paragraph 7 of the Complaint.
19            8.     Claimant lacks knowledge, information or recollection sufficient to form a
20     belief as to the truth of all the allegations contained in Paragraph 8 of the Complaint and,
21     therefore, generally and specifically denies all the allegations in Paragraph 8.
22            9.     Claimant lacks knowledge, information or recollection sufficient to form a
23     belief as to the truth of all the allegations contained in Paragraph 9 of the Complaint and,
24     therefore, generally and specifically denies all the allegations in Paragraph 9.
25            10.    Claimant lacks knowledge, information or recollection sufficient to form a
26     belief as to the truth of all the allegations contained in Paragraph 10 of the Complaint
27     and, therefore, generally and specifically denies all the allegations in Paragraph 10.
28
       ANSWER TO COMPLAINT FOR FORFEITURE IN REM   -2-
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1             11.    Claimant lacks knowledge, information or recollection sufficient to form a
2      belief as to the truth of all the allegations contained in Paragraph 11 of the Complaint
3      and, therefore, generally and specifically denies all the allegations in Paragraph 11.
4             12.    Claimant lacks knowledge, information or recollection sufficient to form a
5      belief as to the truth of all the allegations contained in Paragraph 12 of the Complaint
6      and, therefore, generally and specifically denies all the allegations in Paragraph 12.
7             13.    Claimant lacks knowledge, information or recollection sufficient to form a
8      belief as to the truth of all the allegations contained in Paragraph 13 of the Complaint
9      and, therefore, generally and specifically denies all the allegations in Paragraph 13.
10            14.    Claimant lacks knowledge, information or recollection sufficient to form a
11     belief as to the truth of all the allegations contained in Paragraph 14 of the Complaint
12     and, therefore, generally and specifically denies all the allegations in Paragraph 14.
13            15.    Claimant lacks knowledge, information or recollection sufficient to form a
14     belief as to the truth of all the allegations contained in Paragraph 15 of the Complaint
15     and, therefore, generally and specifically denies all the allegations in Paragraph 15.
16            16.    Claimant lacks knowledge, information or recollection sufficient to form a
17     belief as to the truth of all the allegations contained in Paragraph 16 of the Complaint
18     and, therefore, generally and specifically denies all the allegations in Paragraph 16.
19            17.    Claimant lacks knowledge, information or recollection sufficient to form a
20     belief as to the truth of all the allegations contained in Paragraph 17 of the Complaint
21     and, therefore, generally and specifically denies all the allegations in Paragraph 17.
22            18.    Claimant lacks knowledge, information or recollection sufficient to form a
23     belief as to the truth of all the allegations contained in Paragraph 18 of the Complaint
24     and, therefore, generally and specifically denies all the allegations in Paragraph 18.
25            19.    Claimant lacks knowledge, information or recollection sufficient to form a
26     belief as to the truth of all the allegations contained in Paragraph 19 of the Complaint
27     and, therefore, generally and specifically denies all the allegations in Paragraph 19.
28
       ANSWER TO COMPLAINT FOR FORFEITURE IN REM   -3-
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1             20.    Claimant lacks knowledge, information or recollection sufficient to form a
2      belief as to the truth of all the allegations contained in Paragraph 20 of the Complaint
3      and, therefore, generally and specifically denies all the allegations in Paragraph 20.
4             21.    Claimant lacks knowledge, information or recollection sufficient to form a
5      belief as to the truth of all the allegations contained in Paragraph 21 of the Complaint
6      and, therefore, generally and specifically denies all the allegations in Paragraph 21.
7

8                                        AFFIRMATIVE DEFENSES
9

10            22.    Claimant repeats the denials and affirmations of the allegations set forth in
11     paragraphs 1 through 21 of this Answer, as though fully set forth here. In addition,
12     Claimant raises the following numbered defenses to the Complaint.
13

14                                             FIRST DEFENSE
15

16            23.    The Complaint, and each purported claim for relief, fails to state facts
17     sufficient to constitute claim(s) upon which relief can be granted to defeat Claimant’s
18     claim to subject property or properties.
19                                           SECOND DEFENSE
20

21            24.    The Plaintiff lacks probable cause for belief that a substantial connection
22     exists between the property or properties sought to be forfeited and any unlawful
23     conduct.
24

25                                            THIRD DEFENSE
26

27            25.    This Court lacks jurisdiction over the defendant property or properties or
28
       ANSWER TO COMPLAINT FOR FORFEITURE IN REM    -4-
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1      this action, and venue in any forum, is improper and inconvenient.
2

3                                            FOURTH DEFENSE
4

5             26.    The evidence seized during the search must be suppressed as the fruit of
6      an unreasonable search and seizure under the Fourth Amendment to the United States
7      Constitution and One 1958 Plymouth Sedan v. Commonwealth of Pennsylvania, 380 U.S.
8      693 (1965).
9

10                                            FIFTH DEFENSE
11

12            27.    The forfeiture of the defendant property or properties, in addition to any
13     criminal punishment, fines and assets that may be forfeited would be grossly
14     disproportionate punishment in violation of the Eight Amendment’s Excessive Fines
15     Clause, and Austin v. United States, 509 U.S. 602 (1993).
16

17                                            SIXTH DEFENSE
18

19            28.    Plaintiff has failed to comply with several statutory notice requirements,
20     which, among other legal consequences, make the Complaint void and null.
21

22                                          SEVENTH DEFENSE
23

24            29.    Without waiving any defense asserted above, Claimant further asserts that
25     defendant property or properties are not subject to forfeiture on the basis that any act
26     or omission, if any, on the part of any other individual that would potentially give rise to
27     forfeiture of the defendant properties, was committed or omitted without the
28
       ANSWER TO COMPLAINT FOR FORFEITURE IN REM   -5-
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1      knowledge or consent of the Claimant.
2

3             WHEREFORE, Claimant prays that the Honorable Court will:
4

5             1.     Dismiss the Complaint and enter judgment on behalf of the Claimant and
6      that Plaintiff take nothing by reason of this suit;
7             2.     Deny issuance of a certificate of reasonable cause pursuant to 28 U.S.C.
8      Section 2465 and award costs and attorney’s fees to the Claimant; and
9             3.     Provide such other and further relief, both legal and equitable, as the Court
10     deems proper and just.
11

12

13     DATED: December 31, 2021                           Respectfully submitted,
14                                                                   /S/ Jacek W. Lentz
15

16                                                        By: _______________________________________________
                                                               Jacek W. Lentz
17                                                             THE LENTZ LAW FIRM, P.C.
                                                               Attorneys for Claimant
18                                                             Brenda Sims
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       ANSWER TO COMPLAINT FOR FORFEITURE IN REM    -6-
